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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER J. HADNAGY,
individually and on behalf of SOCIAL-
ENGINEER, LLC,

                Plaintiff,                   2:22-cv-03060-WB

       v.

JEFF MOSS, and
DEF CON COMMUNICATIONS, INC.,

                Defendants.


                              NOTICE OF APPEARANCE

TO THE CLERK OF COURT:

      Please enter the appearance of Jonathan L. Cochran of LeVan Stapleton

Segal Cochran LLC as counsel for defendants Jeff Moss and DEF CON

Communications, Inc. in the above-captioned litigation.

                                          LeVAN STAPLETON SEGAL
                                          COCHRAN LLC

                                          By: /s/ Jonathan L. Cochran
Dated: August 29, 2022                        Jonathan L. Cochran (PA ID 314382)
                                          One Liberty Place
                                          1650 Market Street, Suite 3600
                                          Philadelphia, PA 19103
                                          215.261.5210
                                          jcochran@levanstapleton.com

                                          Counsel for Jeff Moss and DEF CON
                                          Communications, Inc.
